Case 2:04-cr-20330-SH|\/| Document 87 Filed 06/13/05 Page 1 of 2 Page|D 1 7

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIST“ICT °F TENNESSEE exam 13 PH 5= 36
WESTERN DIVISION
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v ::'121 (\
VRD.»F;N,HNMVNJ

UNITED STATES OF AMERICA,

)
}
Plaintiff, )
)

vs. ) CR. NO. 04-20330~Ma
)
sAMMIE FoRD, )
SHIRLEY FORD, )
R:CKY BROWN, )
)
Defendants. )

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July'§, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fronl May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3l6l(h}(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of June, 2005.

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SAMUEL H. MAYS, JR.
ITED STATES DISTRICT JUDGE

 

   

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case 2:04-CR-20330 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable Sarnuel Mays
US DISTRICT COURT

